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 1                             UNITED STATES DISTRICT COURT

 2                            EASTERN DISTRICT OF CALIFORNIA

 3
     NATURAL RESOURCES DEFENSE                              Case No. 1:05-cv-01207 LJO-EPG
 4   COUNCIL, et al.,
                                                            ORDER SUBSITUTING PARTY
 5                          Plaintiffs,
 6   vs.
 7   DAVID BERNHARDT, Acting Secretary,
     U.S. Department of the Interior, et al.,
 8
                             Defendants.
 9
     SAN LUIS & DELTA MENDOTA WATER
10   AUTHORITY, et al.,
11                  Defendant-Intervenors.
     ANDERSON-COTTONWOOD
12   IRRIGATION DISTRICT, et al.,
13                           Joined Parties.
14

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16           The Court takes judicial notice that Ryan Zinke has stepped down as Secretary of the

17 Interior and that David Bernhardt is presently the Acting Secretary. Pursuant to Federal Rule of

18 Civil Procedure 25, “[a]n action does not abate when a public officer who is a party in an

19 official capacity dies, resigns, or otherwise ceases to hold office while the action is pending.
20 The officer’s successor is automatically substituted as a party.” Fed. R. Civ. P. 25(d). The

21 Court “may order substitution at any time.” Id.

22           Accordingly, IT IS HEREBY ORDERED that David Bernhardt is substituted for Ryan

23 Zinke as a defendant in this action.
   IT IS SO ORDERED.
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25     Dated:     February 26, 2019                       /s/ Lawrence J. O’Neill _____
                                                 UNITED STATES CHIEF DISTRICT JUDGE
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